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   1   Brian J. Brazier (SBN: 245004)
       PRICE LAW GROUP, APC
   2
       8245 N. 85th Way
   3   Scottsdale, AZ 85258
       T: (818) 600-5564
   4   brian@pricelawgroup.com
   5
       L. Tegan Rodkey (SBN: 275830)
   6   PRICE LAW GROUP, APC
       6345 Balboa Blvd., Suite 247
   7
       Encino, CA 91316
   8   T: (818) 600-5587
       tegan@pricelawgroup.com
   9   Attorneys for Plaintiff
  10   Alejandro Odeh-Lara

  11                          UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
  12
  13                                              Case No. 2:19-cv-02446-KS
       ALEJANDRO ODEH-LARA,
  14
                    Plaintiff,                    PLAINTIFF’S FIRST AMENDED
  15   v.                                         COMPLAINT AND DEMAND FOR
                                                  JURY TRIAL
  16   SYNCHRONY BANK,
                                                     1. TCPA, 47 U.S.C. § 227
  17                                                 2. RFDCPA, CAL. CIV. CODE § 1788
                   Defendant.                        3. Invasion of Privacy - Intrusion
  18                                                    Upon Seclusion
  19
  20
  21                        COMPLAINT AND DEMAND FOR JURY TRIAL
  22         Plaintiff Alejandro Odeh-Lara (“Plaintiff”) through his attorneys, alleges the
  23
       following against Defendant Synchrony Bank (“Defendant”).
  24
                                           INTRODUCTION
  25
  26         1.     Count I of Plaintiff’s Complaint is based upon the Telephone Consumer
  27   Protection Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute that broadly
  28
                                                         COMPLAINT AND DEMAND FOR JURY TRIAL

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   1   regulates the use of automated telephone equipment. Among other things, the TCPA
   2
       prohibits certain unsolicited marketing calls, restricts the use of automatic dialers or
   3
       prerecorded messages, and delegates rulemaking authority to the Federal Communications
   4
   5   Commission (“FCC”).

   6          2.     Count II of Plaintiff’s Complaint is based upon Rosenthal Fair Debt
   7
       Collection Practices Act (“RFDCPA”), Cal. Civ. Code § 1788, which prohibits debt
   8
       collectors from engaging in abusive, deceptive and unfair practices in connection with the
   9
  10   collection of consumer debts.

  11          3.     Count III of Plaintiff’s Complaint is based upon the Invasion of Privacy -
  12
       Intrusion upon Seclusion, as derived from § 652B of the Restatement (Second) of Torts.
  13
       § 652B prohibits an intentional intrusion, “physically or otherwise, upon the solitude or
  14
  15   seclusion of another or his private affairs or concerns… that would be highly offensive to

  16   a reasonable person.”
  17
                                        JURISDICTION AND VENUE
  18
              4.     Jurisdiction of the Court arises under 28 U.S.C. § 1331 and 47 U.S.C. § 227.
  19
  20          5.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) in that a substantial part

  21   of the events or omissions giving rise to the claim occurred in this District.
  22
              6.     Defendants transacts business in the state of California; thus personal
  23
       jurisdiction is established.
  24
  25
  26
  27
                                                               PLAINTIFF’S FIRST AMENDED COMPLAINT AND
  28                                                           DEMAND FOR JURY TRIAL
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   1                                                   PARTIES
   2
              7.      Plaintiff is a natural person residing in Redlands, San Bernardino County,
   3
       California.
   4
   5          8.      Synchrony Bank is a federal savings bank engaged in the business of giving

   6   loans and managing credit accounts with its principal place of business located at 170 West
   7
       Election Road, Suite 125, Draper, Utah 84020, Defendant can be served with process
   8
       through its designated agent C T Corporation System, 818 Seventh Street, Suite 930, Los
   9
  10   Angeles, CA 90017.

  11          9.      The debt(s) that Defendant is attempting to collect on is an alleged obligation
  12
       of a consumer to pay money arising out of a transaction in which the money, property,
  13
       insurance or services which are the subject of the transaction are primarily for personal,
  14
  15   family, or household purposes.

  16          10.     During the course of its attempts to collect debts, Defendant sends to debtors
  17
       bills, statements, and/or other correspondence, via the mail and/or electronic mail, and
  18
       initiates contact with alleged debtors via various means of telecommunication, such as by
  19
  20   telephone and facsimile.

  21          11.     Defendant acted through their agents, employees, officers, members,
  22
       directors,    heirs,   successors,   assigns,    principals,   trustees,   sureties,   subrogees,
  23
       representatives, and insurers.
  24
  25
  26
  27
                                                                 PLAINTIFF’S FIRST AMENDED COMPLAINT AND
  28                                                             DEMAND FOR JURY TRIAL
                                                       -3-
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   1                                       FACTUAL ALLEGATIONS
   2
              12.    Upon Information and belief, Plaintiff has never had an account with
   3
       Defendant.
   4
   5          13.    Plaintiff did not provide Defendant with his cellular telephone number and

   6   therefore Defendant did not have consent to call Plaintiff.
   7
              14.    Defendant attempted to collect on a consumer debt from Plaintiff, which
   8
       Plaintiff did not owe.
   9
  10          15.    In or around November 2018, Synchrony Bank began placing calls to

  11   Plaintiff’s cellular phone number (815) 600-xxxx (a Chicago phone number), in an attempt
  12
       to collect an alleged debt(s).
  13
              16.    The calls originated from: (972) 512-3472 and (540) 840-1746.
  14
  15          17.    Upon information and belief, those phone numbers are owned or operated by

  16   Defendant.
  17
              18.    On or about November 1, 2018, in an attempt to collect an alleged debt,
  18
       Defendant called Plaintiff at (815) 600-xxxx and asked to speak to an individual who’s
  19
  20   name Plaintiff did not recognize.

  21          19.    During the phone call, Plaintiff explained to Defendant that he was not the
  22
       person with whom Defendant wanted to speak. Plaintiff further explained to Defendant
  23
       that he did not have an account with Defendant, and he had never had such an account.
  24
  25
  26
  27
                                                             PLAINTIFF’S FIRST AMENDED COMPLAINT AND
  28                                                         DEMAND FOR JURY TRIAL
                                                   -4-
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   1            20.   Despite never having given Defendant consent to contact him on his cell
   2
       phone, Plaintiff unequivocally revoked consent to be called any further on his cellular
   3
       phone.
   4
   5            21.   After Plaintiff had revoked his consent to be called, Defendant began calling

   6   Plaintiff incessantly. Between November 1, 2018 and February 28, 2019, Defendant called
   7
       Plaintiff approximately 450 times.
   8
                22.   In one month, between December 31, 2018 and January 31, 2019, Defendant
   9
  10   called Plaintiff approximately 75 times.

  11            23.   Defendant called Plaintiff multiple times a day. For example, Defendant
  12
       called Plaintiff five times on January 21, 23, 28, and 30, in 2019, and twelve times on
  13
       December 31, 2018.
  14
  15            24.   Defendant called Plaintiff as early as 6:41 a.m. (January 19, 2019).

  16            25.   On April 1, 2019, Plaintiff filed his complaint against Defendant.
  17
                26.   Defendant was served with Plaintiff’s complaint on April 4, 2019, but has
  18
       continued to place calls to Plaintiff, prompting Plaintiff’s filing of his First Amended
  19
  20   Complaint.

  21            27.   On April 12, 2019, Plaintiff’s severe emotional distress, coupled with
  22
       desperation, caused him to file a complaint with the Consumer Financial Protection Bureau
  23
       (“CFPB”).
  24
  25            28.   Defendant responded to Plaintiff’s dispute on April 22, 2019.

  26
  27
                                                              PLAINTIFF’S FIRST AMENDED COMPLAINT AND
  28                                                          DEMAND FOR JURY TRIAL
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   1          29.    Defendant’s response assured Plaintiff that his phone number had been
   2
       removed from Defendant’s records and database. Defendant further assured Plaintiff that
   3
       a review of the call attempts made to Plaintiff did not show any calls being made outside
   4
   5   of the hours of 8:00 a.m. and 9:00 p.m. and that Defendant had no record of any request to

   6   remove Plaintiff’s phone number from its records.
   7
              30.    The filing of Plaintiff’s complaint, Plaintiff’s dispute with the CFPB, and the
   8
       fact that Defendant has made a formal appearance in the case has not stopped Defendant
   9
  10   from harassing Plaintiff with its phone calls.

  11          31.    Plaintiff has received calls as recently as May 7, 2019 at 5:49 a.m.
  12
              32.    At the beginning of each call there was a brief pause before Defendant’s
  13
       representative began speaking, indicating the use of an Automatic Telephone Dialing
  14
  15   System (“ADTS”).

  16          33.    The conduct was not only willful but was done with the intention causing
  17
       Plaintiff such distress, so as to induce him to pay the debt, which he did not owe.
  18
              34.    Further, the conduct was done with such frequency and intensity so as to
  19
  20   harass Plaintiff.

  21          35.    As a result of Defendant’s conduct, Plaintiff has sustained actual damages
  22
       including but not limited to, embarrassment, shame, worry, grief, anguish, humiliation,
  23
       and physical and mental pain.
  24
  25
  26
  27
                                                              PLAINTIFF’S FIRST AMENDED COMPLAINT AND
  28                                                          DEMAND FOR JURY TRIAL
                                                   -6-
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   1          36.      Further, Defendant’s calls often occurred while Plaintiff was busy with his
   2
       daily activities and disrupted his day. Particularly the calls made during the work day
   3
       required Plaintiff to drop the work he was doing in order to check his cell phone.
   4
   5          37.      Defendant’s calls have severely impacted and put strain on Plaintiff’s

   6   relationship with his family. To give one example, Plaintiff’s son has said that, due to the
   7
       disruption of the incessant phone calls to Plaintiff’s cell phone, he does not want to hang
   8
       out with his father on the weekends as they usually do.
   9
  10          38.      The approximately 500 phone calls placed by Defendant to Plaintiff’s

  11   cellular phone caused Plaintiff extreme emotional distress and aggravation.
  12
                                                    COUNT I
  13                                 (Violations the TCPA, 47 U.S.C. § 227)
  14          39.      Plaintiff incorporates by reference all of the above paragraphs of this
  15
       Complaint as though fully stated herein.
  16
              40.      Defendant violated the TCPA. Defendant’s violations include, but are not
  17
  18   limited to the following:

  19                a. Within four years prior to the filing of this action, on multiple occasions,
  20
                       Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in
  21
                       pertinent part, “[i]t shall be unlawful for any person within the United States
  22
  23                   . . . to make any call (other than a call made for emergency purposes or made

  24                   with the prior express consent of the called party) using any automatic
  25
                       telephone dialing system or an artificial or prerecorded voice — to any
  26
  27
                                                               PLAINTIFF’S FIRST AMENDED COMPLAINT AND
  28                                                           DEMAND FOR JURY TRIAL
                                                     -7-
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   1                   telephone number assigned to a . . . cellular telephone service . . . or any
   2
                       service for which the called party is charged for the call.
   3
                    b. Within four years prior to the filing of this action, on multiple occasions
   4
   5                   Defendant willfully and/or knowingly contacted Plaintiff at Plaintiff’s

   6                   cellular telephone using an artificial prerecorded voice or an automatic
   7
                       telephone dialing system and as such, Defendant knowingly and/or willfully
   8
                       violated the TCPA.
   9
  10      41. Defendant’s calls constitute calls that are not for emergency purposes as defined by

  11   47 U.S.C. § 227(b)(1)(A).
  12
          42. Defendant’s calls are placed to a telephone number assigned to a cellular telephone
  13
       service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §
  14
  15   227(b)(1).

  16      43. Under the TCPA and pursuant to the FCCs January 2008 Declaratory Ruling, the
  17
       burden is on the Defendant to demonstrate that the Plaintiff provided express consent within
  18
       the meaning of the statute because it is the best entity to determine how numbers were
  19
  20   attained.

  21      44. As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiffs is entitled to an
  22
       award of five hundred dollars ($500.00) in statutory damages, for each and every violation,
  23
       pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds that Defendant knowingly and/or
  24
  25   willfully violated the TCPA, Plaintiffs are entitled to an award of one thousand five hundred

  26
  27
                                                                PLAINTIFF’S FIRST AMENDED COMPLAINT AND
  28                                                            DEMAND FOR JURY TRIAL
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   1   dollars ($1,500.00), for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and
   2
       47 U.S.C. § 227(b)(3)(C).
   3
                                            COUNT III
   4               Violation of the Rosenthal Fair Debt Collection Practices Act,
   5                                   Cal. Civ. Code § 1788

   6      45. Plaintiff incorporates herein by reference all of the above paragraphs of this
   7
       Complaint as though fully set forth herein at length.
   8
          46. Defendant violated the RFDCPA. Defendant violated Cal. Civ. Code § 1788.17 by
   9
  10   collecting or attempting to collect a consumer debt without complying with the provisions

  11   of 15 U.S.C. §§ 1692b-1692j.
  12
                 a. Defendants violated Cal. Civ. Code § 1788.17 by violating 15 U.S.C. §
  13
                     1692d by engaging in conduct, the natural consequence of which is to
  14
  15                 harass, oppress or abuse any person in connection with the collection of the

  16                 alleged debt; and
  17             b. Defendant violated Cal. Civ. Code § 1788.17 by violating 15 U.S.C. § 1692f
  18
                     by using unfair or unconscionable means in connection with the collection
  19
  20                 of an alleged debt.

  21      47. Defendant Synchrony Bank’s acts, as described above, were done intentionally

  22   with the purpose of coercing Plaintiff to pay the alleged debt, which he did not owe.
  23
          48. As a result of the foregoing violations of the RFDCPA, Defendant is liable to
  24
  25   Plaintiff for actual damages, statutory damages, and attorneys’ fees and costs.

  26                                          COUNT III
                               Defendant’s Invasion of Privacy of Plaintiff
  27
                                                               PLAINTIFF’S FIRST AMENDED COMPLAINT AND
  28                                                           DEMAND FOR JURY TRIAL
                                                   -9-
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    1                                    (Intrusion upon Seclusion)
    2
           49. Plaintiff incorporates herein by reference all of the above paragraphs of this
    3
        complaint as though fully set forth herein at length.
    4
    5      50. Restatement of the Law, Second, Torts, § 652(b) defines intrusion upon seclusion

    6   as “[o]ne who intentionally intrudes… upon the solitude or seclusion of another, or his
    7
        private affairs or concerns, is subject to liability to the other for invasion of privacy, if the
    8
        intrusion would be highly offensive to a reasonable person”.
    9
  10       51. Defendant violated Plaintiff’s privacy. Defendant’s violations include, but are not

  11    limited to, the following:
  12
                   a. Defendant intentionally intruded, physically or otherwise, upon Plaintiff’s
  13
                       solitude and seclusion by engaging in harassing phone calls in an attempt to
  14
  15                   collect on an alleged debt, which Plaintiff did not owe, despite Plaintiff

  16                   having never given consent to be contacted on his cellular phone and despite
  17                   Plaintiff having unequivocally revoked consent to be called.
  18
                   b. The number and frequency of the telephone calls to Plaintiff by Defendant
  19
  20                   constitute an intrusion on Plaintiff’s privacy and solitude.

  21               c. Defendant’s conduct would be highly offensive to a reasonable person as
  22                   Plaintiff received calls that often interrupted Plaintiff’s work and sleep
  23
                       schedule.
  24
  25               d. Defendant’s acts, as described above, were done intentionally with the

  26                   purpose of coercing Plaintiff to pay the alleged debt, which he did not owe.
  27
                                                                  PLAINTIFF’S FIRST AMENDED COMPLAINT AND
  28                                                              DEMAND FOR JURY TRIAL
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    1      52. As a result of Defendant’s violations of Plaintiff’s privacy, Defendant is liable to
    2
        Plaintiff for actual damages. If the Court finds that the conduct is found to be egregious,
    3
        Plaintiff may recover punitive damages.
    4
    5                                   PRAYER FOR RELIEF

    6         WHEREFORE, Plaintiff Alejandro Odeh-Lara respectfully requests that judgment
    7
        be entered against Defendant for the following:
    8
                  A. Declaratory judgment that Defendant violated the TCPA;
    9
  10              B. Declaratory judgment that Defendant violated the RFDCPA;

  11              C. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
  12
                     227(b)(3)(C);
  13
                  D. Statutory damages of $1,000.00 pursuant to the RFDCPA, Cal. Civ. Code
  14
  15                 §1788.30(b);

  16              E. Actual damages pursuant to RFDCPA, Cal. Civ. Code §1788.30(b);
  17
                  F. Punitive damages for intrusion upon Plaintiff’s seclusion or under Cal. Civ.
  18
                     Code §3294;
  19
  20              G. Costs and reasonable attorneys’ fees pursuant to the RFDCPA, Cal. Civ.

  21                 Code §1788.30(c);
  22
                  H. Awarding Plaintiff any pre-judgment and post-judgment interest as may be
  23
                     allowed under the law; and
  24
  25              I. Any other relief that this Court deems appropriate.

  26
  27
                                                             PLAINTIFF’S FIRST AMENDED COMPLAINT AND
  28                                                         DEMAND FOR JURY TRIAL
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    1                               DEMAND FOR JURY TRIAL
    2
             Please take notice that Plaintiff demands a trial by jury in this action.
    3
                                                                RESPECTFULLY SUBMITTED,
    4
    5
             Dated: May 7, 2019                                 PRICE LAW GROUP, APC
    6
    7                                                           /s/ Brian J. Brazier
    8                                                           Brian J. Brazier (SBN: 245004)
                                                                PRICE LAW GROUP, APC
    9                                                           8245 N. 85th Way
  10                                                            Scottsdale, AZ 85258
                                                                T: (818) 600-5564
  11                                                            brian@pricelawgroup.com
  12                                                            L. Tegan Rodkey (SBN: 275830)
  13                                                            PRICE LAW GROUP, APC
                                                                6345 Balboa Blvd., Suite 247
  14                                                            Encino, CA 91316
                                                                T: (818) 600-5587
  15
                                                                tegan@pricelawgroup.com
  16                                                            Attorneys for Plaintiff
                                                                Alejandro Odeh-Lara
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                                                              PLAINTIFF’S FIRST AMENDED COMPLAINT AND
  28                                                          DEMAND FOR JURY TRIAL
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